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           EXHIBIT 24
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 1                   UNITED STATES DISTRICT COURT

 2                  NORTHERN DISTRICT OF CALIFORNIA

 3    -----------------------------x

 4    IN RE: ROUNDUP PRODUCTS               ) MDL No. 2741

 5    LIABILITY LITIGATION                  )

 6                                          ) Case No.

 7    ______________________________) 16-md-02741-VC

 8    THIS DOCUMENT RELATES TO ALL          )

 9    CASES                                 )

10    ______________________________)

11

12          CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER

13

14        VIDEOTAPED DEPOSITION OF MARK A. MARTENS, Ph.D.

15                          WASHINGTON, D.C.

16                       FRIDAY, APRIL 7, 2017

17                              9:23 A.M.

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25    Reported by: Leslie A. Todd

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 1           Q      Okay.   And those --

 2                  MR. GRIFFIS:     Excuse me.     Objection.       Two

 3    of those are non-recommendations.

 4                  MS. WAGSTAFF:      Okay.

 5                  MR. GRIFFIS:     G and H.

 6    BY MS. WAGSTAFF:

 7           Q      So he gives you a handful of

 8    recommendations of actions to take to answer those

 9    questions, correct?

10           A      Well, there are a couple of points

11    whereby he does not recommend something.

12           Q      Okay.

13           A      Yeah.

14           Q      So that's I think what your counsel was

15    just saying is that -- so let's make this a little

16    bit cleaner.

17                  Dr. Parry gave a list of eight questions

18    that were left unanswered, correct?

19           A      That he would like to see answered, yes.

20           Q      Okay.   And as a scientist, you would have

21    liked to see those answered as well, correct?

22           A      These were genuine questions, yes.

23           Q      Yeah.   Good questions, right?

24           A      These were good questions, yes.

25           Q      Okay.   And he provided with a list of

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 1    actions that Monsanto could take to answer those

 2    questions, correct?

 3           A      Yes.

 4           Q      Okay.   And we've gone over a few of

 5    those.

 6                  So then Dr. Parry says at the very end of

 7    his recommendations:       "My overall view is that if

 8    there is -- my overall view is that if the reported

 9    genotoxicity of glyphosate and glyphosate

10    formulations can be shown to be due to the production

11    of oxidative damage, then a case could be made that

12    any genetic damage would be threshold."

13                  Did I read that correctly?

14           A      You read it, yes.

15           Q      Okay.   "Such genetic damage would only be

16    biologically relevant under conditions of compromised

17    anti -- antioxidant status.         If such an oxidative

18    damage mechanism is proved, then it may be necessary

19    to consider the possibility of the susceptible groups

20    within the human population."

21                  Did I read that correctly?

22           A      You read that correctly, yes.

23           Q      Okay.   So there is an expert telling

24    Monsanto in 1999 to do tests that may affect the

25    human population, correct?

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 1                  MR. GRIFFIS:     Objection.

 2    Mischaracterizes the document.

 3                  THE WITNESS:     This is a little bit an

 4    expanded conclusion.       You know, he is more or less

 5    asking himself the question.          If that might be true,

 6    then there may be susceptible groups in a population

 7    that might be more susceptible in producing an

 8    effect.    But he forgets to say those effects have

 9    been, you know, obtained through intraperitoneal

10    injection, whereas the human exposure is not via

11    intraperitoneal injection.         And that's a very

12    important nuance.

13    BY MS. WAGSTAFF:

14           Q      So I don't -- how do you know he forgot

15    to say that?

16           A      I don't know why he didn't point it out.

17    That's why --

18           Q      But he didn't point it out, did he?

19           A      Intra -- well, that is limited to

20    intraperitoneal injection.         Not sufficiently --

21           Q      So you may -- you may not agree with

22    what Dr. Parry wrote, but I'm not asking you to

23    rewrite his report.

24                  I'm asking you in 1999, Dr. Parry wrote

25    to Monsanto and -- and did an analysis, gave

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 1    questions unanswered, right?

 2            A     Yes.

 3            Q     Proposed actions that could be taken,

 4    right?

 5            A     Yes.

 6            Q     And then stated that the over -- his

 7    overall view is that these tests and answers need to

 8    be taken, right?

 9            A     Yes.

10            Q     And then you need to figure out what --

11    what group within the human population may be

12    affected, correct?

13                  MR. GRIFFIS:     Objection.     It doesn't say

14    that.

15                  THE WITNESS:     That -- that is what he

16    said.

17                  MS. WAGSTAFF:      Okay.

18                  THE WITNESS:     But I don't agree with what

19    he said because --

20    BY MS. WAGSTAFF:

21            Q     That's -- you can -- that's fine if you

22    don't agree with what he said.           I'm just -- that's

23    what he told Monsanto, correct?

24            A     That's what he told Monsanto, yes.

25            Q     Okay.   All right.      I have -- we're done

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